           Case 1:18-cv-00637-RP Document 183 Filed 04/03/23 Page 1 of 2



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DEFENSE DISTRIBUTED and                              §
SECOND AMENDMENT                                     §
FOUNDATION, INC.,                                    §
                                                     §
                   Plaintiffs,                       §
                                                     §
v.                                                   §                        1:18-CV-637-RP
                                                     §
UNITED STATES DEPARTMENT OF                          §
STATE, ANTHONY BLINKEN, in his official              §
capacity as Secretary of State, DIRECTORATE OF §
DEFENSE TRADE CONTROLS, MIKE                         §
MILLER, in his official capacity as Deputy Assistant §
Secretary of Trade Controls, and SARAH               §
HEIDEMA, in her official capacity as Director of     §
Policy, Office of Defense Trade Controls Policy,     §
                                                     §
                   Defendants.                       §

                                           TRANSFER ORDER

        On March 15, 2023, the Court granted Defendants U.S. Department of State, et al.’s

(“Defendants”) motion to dismiss, (Dkt. 182). The Court dismissed all of Plaintiffs Defense

Distributed and Second Amendment Foundation, Inc.’s (“Plaintiffs”) claims for equitable relief. 1

(Id.). The Court noted that it lacked jurisdiction over Plaintiffs’ claims for monetary relief because

they exceeded the $10,000 limit provided by the Little Tucker Act. (Id. at 15). However, in their

response to the motion, Plaintiffs asked that they be granted leave to amend their complaint to fall

within this limit to avoid transfer. (Pls.’ Resp., Dkt. 168, at 19 n.13). The Court gave Plaintiffs until

March 29, 2023, to file any such amendment. (Order, Dkt. 182, at 16). Plaintiffs have not filed a

motion for leave since that time.




1 While Plaintiffs’ claims for equitable relief remain dismissed without prejudice, their breach of contract
claim for monetary relief (Count Five of their cause of action against the State Department) is live.

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          Case 1:18-cv-00637-RP Document 183 Filed 04/03/23 Page 2 of 2



       For the reasons set out in the order on the motion to dismiss, the Court will transfer

Plaintiffs’ remaining claims for monetary damages to the Court of Federal Claims. (Id. at 15).

       Accordingly, IT IS ORDERED that this case is TRANSFERRED to the United States

Court of Federal Claims.

       SIGNED on April 3, 2023.




                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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